Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 1 of 14 PageID: 1




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                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY
                                                  (Newark)

  YANIZA DE LOS SANTOS,

                              Plaintiff,

                      v.
                                                                         Civil Action No.:
  PARK PLACE OF NEW JERSEY, LLC d/b/a
  DIP’S LUXURY MOTORS; SALVADOR DIP;
  GREGORY WILSON and CAPITAL ONE
  AUTO FINANCE, INC. a division of CAPITAL
  ONE, N.A.,

                              Defendants.


                                        VERIFIED COMPLAINT
                                          (Jury Trial Demanded)

             Plaintiff, Yaniza De Los Santos (“Plaintiff”), brings this action to secure

  including monetary damages and other relief under the New Jersey Consumer Fraud Act

  (the “CFA”), N.J.S.A. 56:8-1 et seq., in connection with the unlawful practices of

  Defendant Park Place of New Jersey, LLC d/b/a Dip’s Luxury Motors (“Park Place”), its

  owner Salvador Dip (“Dip”), Gregory Wilson (“Wilson”) and Capital One Auto Finance,

  Inc. a division of Capital One, N.A. (“Cap One”). 1

                                     JURISDICTION AND VENUE

  1
      Park Place, Dip, and Wilson and Cap One may hereinafter be collectively referred to as “Defendants”.
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 2 of 14 PageID: 2




             1.       The Court has subject matter jurisdiction over this proceeding pursuant to

  28 U.S.C. § 1332.

             2.       With regard to 28 U.S.C. § 1332, as set forth below, the parties are

  completely diverse and the amount in controversy exceeds $75,000.00.

             3.       The Court has authority to issue a declaratory judgment by virtue of 28

  U.S.C. § 2201 and § 2202.

             4.       This Court has supplemental jurisdiction over the Plaintiff’s state law

  claims pursuant to 28 U.S.C. § 1367.

             5.       Venue in this District is proper under 28 U.S.C § 1391 because a

  substantial part of the events and omissions complained of took place in this District and

  defendants Park Place, Dip and Wilson 2 all maintain offices, transact business, and are

  otherwise found in this district.

                                       NATURE OF THIS ACTION

             6.       Defendants violated the CFA directly by engaging in unlawful acts,

  including but not limited to causing and/or directing the forgery of Plaintiff’s signature

  on numerous documents, making her appear to be the “Co-Buyer” of a 2015 Jeep

  Cherokee, VIN 1C4RJFDJ0FC665126 (the “Vehicle”) when she was not.

             7.       In actuality, Plaintiff did not sign the documents on which Defendants

  forged her signature, did not authorize Defendants or any other person to place her

  signature on those documents, was not a co-buyer or guarantor of the Vehicle, and had no

  involvement in the purchase of the Vehicle.

             8.       Plaintiff suffered ascertainable losses as a direct result of the unlawful acts

  in violation of the CFA committed by Defendants including but not limited the amount of

  2
      Park Place, Dip and Wilson may hereinafter be collectively referred to as the “Dealer Defendants”.


                                                         2
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 3 of 14 PageID: 3




  the $48,533.61 purchase price of the Vehicle and related items, for which Plaintiff

  became liable as a result of Defendant’s forgery; any interest, late fees, collection fees or

  penalties associated with the financing of the purchase of the Vehicle and damages to her

  credit rating.

          9.       Plaintiff also seeks damages and punitive damages under the New Jersey

  Punitive Damages Act five times the amount of compensatory damages or $350,000,

  whichever is greater as a result of the actual common law fraud and egregious actions

  Defendants perpetrated upon her.

                                           PARTIES

          10.      Plaintiff Yaniza De Los Santos resides in New York, New York.

          11.      Defendant Park Place of New Jersey, LLC d/b/a Luxury Motors is and has

  been at all times relevant to this matter a dealership engaged in the business of

  purchasing and selling motor vehicles in the State of New Jersey. Park Place’s business

  address is 500 South Broad Street, Elizabeth, New Jersey 07202.

          12.      Defendant Dip owns all or part of Park Place and resides in Freehold, New

  Jersey in Monmouth County.

          13.      Defendant Gregory Wilson was the salesman involved in all aspects of the

  sale and financing of the Vehicle and the unlawful acts alleged herein, and, upon

  information and belief resides in the State of New Jersey.

          14.      Cap One is a division of a national banking association. For diversity

  purposes, a national bank and its divisions are citizens of the state in which the national

  bank has its main office as designated in its articles of association. See Wachovia Bank,

  NA. v. Schmidt, III, 546 U.S. 303, 318 (2006) (holding that national bank is a citizen of




                                                3
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 4 of 14 PageID: 4




  “the State designated in its articles of association as its main office”). Thus, for diversity

  purposes, Cap One is a citizen of the Commonwealth of Virginia. See 28 U.S.C. § 1332.

         15.     Cap One provides automobile loans and loan servicing nationwide

  including in the state of New Jersey.

         16.     Cap One is, upon information and belief, assignee of Plaintiff’s contracts

  with the Dealer Defendants and, as a result, is subject to all claims and defenses pursuant

  to federal and New Jersey law including, but not limited to N.J.S.A. 17:16C-38.2.

                                             FACTS

         17.     Sometime prior to October 3, 2012 Plaintiff allegedly incurred a financial

  obligation (the “Alleged Debt”) to non-party Discover Bank (“Discover”).

         18.     Defendant Park Place is a motor vehicle dealer that, in the ordinary course

  of business, is engaged in the purchase and sale of motor vehicles.

         19.     During the twelve-month period that includes July 22, 2019, Defendant

  was a dealer as defined by the regulations, as it sold three or more cars during that period.

         20.     Defendant Dip owns all or part of Defendant Park Place.

         21.     Defendant Dip is the principal of Park Place.

         22.     Defendant Dip manages the day-to-day operation of Park Place.

         23.     Defendant Dip sets the policies and practices of Park Place, including the

  policies and practices complained of herein.

         24.     Defendant Dip set the policies and practices of Park Place regarding the

  form of documents used in motor vehicle transactions.

         25.     Defendant Dip was directly involved in all or some of the practices related

  to the sale and financing of the Vehicle alleged herein.




                                                 4
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 5 of 14 PageID: 5




         26.     Defendant Wilson was the salesperson at Park Place assigned to the sale of

  the Vehicle referred to herein.

         27.     Defendant Wilson was directly involved in all of the practices related to

  the sale and financing of the Vehicle alleged herein.

         28.     On July 22, 2019, during a visit to the Dealer Defendant’s car lot,

  Plaintiff’s cousin, Yordy Hernandez Liranzo (“Mr. Liranzo”), expressed an interest in

  purchasing the Vehicle.

         29.     Prior to that date, Plaintiff told Mr. Liranzo that she might be willing to act

  as a guarantor for a loan enabling him to procure an automobile, but only if she received

  an opportunity to inspect the car and approve the deal before any purchase took place.

         30.     While interacting with the Dealer Defendants on July 22, 2019 regarding

  the Vehicle, Mr. Liranzo was informed that he did not financially qualify to make the

  purchase.

         31.     Mr. Liranzo then told the Dealer Defendants that he would need to return

  to the car lot with Plaintiff, a potential guarantor, so that she might inspect the Vehicle

  and review the transaction.

         32.     In response, the Dealer Defendants informed Mr. Liranzo, a recent

  immigrant who does not speak English and has limited education, that Plaintiff’s

  presence was not necessary to close the purchase of the Vehicle, and informed him that it

  was permissible to financially qualify for and complete the sale by signing Plaintiff’s

  name and/or by signing his name on signature lines that called for her name on the

  pertinent documents.




                                                5
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 6 of 14 PageID: 6




         33.     Throughout this Complaint, Plaintiff uses various forms of the term

  “forgery” to refer to both (1) the unlawful signing of Plaintiff’s name without her

  knowledge or consent, (2) placing the name of Mr. Liranzo, or any other person, on

  signature lines that called for Plaintiff’s name; and/or assigning any document with

  Plaintiff’s forged name or signature to any third party.

         34.     At the instruction of the Dealer Defendants, and as a result of his limited

  understanding of both the English language and applicable law, Mr. Liranzo signed his

  name on signature lines that called for her name on some documents, including the Bill of

  Sale, and signed her name on various other documents necessary to complete the

  purchase.

         35.     Plaintiff never signed any of these documents or any other documents

  related to the sale and financing of the Vehicle.

         36.     No agreement was ever formed between Plaintiff, Park Place, Cap One or

  any third party related to the sale and financing of the Vehicle.

         37.     Plaintiff only became aware of these documents in July, 2019 after they

  were fraudulently signed with her name and processed.

         38.     Plaintiff only obtained copies of these documents from Park Place on

  September 9, 2019.

         39.     Upon information and belief, Plaintiff’s signature was also placed, without

  her knowledge or permission, on a Retail Installment Contract that was assigned to Cap

  One.




                                                6
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 7 of 14 PageID: 7




          40.     Plaintiff has never received a copy of a Retail Instalment Contract or any

  disclosures such a document contains, but Cap One has informed her that it considers her

  liable under a Retail Installment Contract applicable to the Vehicle.

          41.     The various documents upon which Plaintiff’s signature was affixed,

  without her knowledge and consent, purport to make her a “Co-Buyer” of the Vehicle.

          42.     Plaintiff never agreed, in any circumstances, to jointly buy a car with her

  Mr. Liranzo and she never agreed to be a co-buyer or guarantor of the sale or financing of

  the Vehicle

          43.     As set forth above, Plaintiff never received a chance to inspect the Vehicle

  or approve its purchase before her signature was placed, without her knowledge or

  consent, on numerous documents necessary to complete the sale.

          44.     By persuading Mr. Liranzo, a recent immigrant who does not speak

  English, into causing or allowing Plaintiff’s name to be forged on documents related to

  the sale and financing of the Vehicle, Defendants knowingly and intentionally committed

  unlawful acts, material misrepresentations and other affirmative acts which victimized

  and damaged Plaintiff and her cousin Mr. Liranzo.

                                 FIRST CAUSE OF ACTION
                                   VIOLATION OF THE
                                    (N.J.S.A. 56:8-1 et seq.)

          45.     Plaintiff realleges and incorporates each of the above allegations as if fully

  set forth herein.

          46.     Defendants engaged in unconscionable commercial practices, deception,

  fraud, false promises, false pretenses, and/or misrepresentations in connection with the

  sale of the Vehicle on July 22, 2019, in violation of the Consumer Fraud Act at N.J.S.A.

  56:8-2, including without limitation:


                                                7
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 8 of 14 PageID: 8




                  (a)    Defendants engaged in unconscionable commercial practices,
                         fraud, false pretenses, and material misrepresentations by tricking
                         Plaintiff’s cousin, a foreign national who does not speak English,
                         into believing that it was permissible, in Plaintiff’s absence and
                         without her knowledge or consent, to complete the purchase of the
                         Vehicle by placing Plaintiff’s name, or allowing Plaintiff’s name to
                         be placed, on multiple documents required to finalize the purchase.

                  (b)    Defendants engaged in fraud by causing Plaintiff’s signature to be
                         forged on multiple documents relating to the purchase of the
                         Vehicle, and purporting to make her a Co-Buyer of the Vehicle,
                         without Plaintiff’s knowledge or authorization.

                  (c)    Defendants engaged in unlawful affirmative acts under the CFA by
                         deceiving Mr. Liranzo and causing Plaintiff’s signature to be
                         forged on multiple documents related to the sale of the Vehicle,
                         including a Bill of Sale, Limited Power of Attorney, Park Place
                         Privacy Policy, Arbitration Agreement, Right of Repossession,
                         Waiver of Dealer’s Obligations, and, upon information and belief,
                         Retail Installment Contract. None of these documents was signed
                         by Plaintiff nor did she authorize anyone to affix her signature to
                         the documents. Defendant forged Plaintiff’s signature or caused
                         her signature to be forged.

          47.     Plaintiff has suffered ascertainable losses as a result of Defendant’s

  violations of the CFA, including but not limited to the Vehicle’s purchase price of

  $48,533.61, for which Plaintiff has wrongfully became liable as a result of Defendants’

  actions of related to obtaining her forged signature on the sales documents, any interest,

  late fees, collection fees or penalties associated with the financing of the purchase of the

  Vehicle and damages to her credit rating.

                               SECOND CAUSE OF ACTION
                                 COMMON LAW FRAUD

          48.     Plaintiff realleges and incorporates each of the above allegations as if fully

  set forth herein.

          49.     Defendants knowingly made material misrepresentations of a presently

  existing material fact in order to complete the sale and financing of the Vehicle to



                                                8
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 9 of 14 PageID: 9




  Plaintiff’s cousin, Yordy Hernandez Liranzo, including materially misrepresenting that it

  was permissible, even in Plaintiff’s absence and without her knowledge or permission, to

  complete the purchase and financing of the Vehicle by forging Plaintiff’s name on

  multiple documents required to finalize the purchase.

          50.    Defendants knowingly caused Plaintiff’s signature to be forged on

  multiple documents without her knowledge or authorization, as described above, and

  made a material misrepresentation of a presently existing fact in order to complete the

  sale of the Vehicle.

          51.    Plaintiff did not sign or authorize anyone to sign on her behalf any of the

  documents at issue in this litigation.

          52.    At the time the material misrepresentations were made, Defendants knew

  its unlawful actions would cause Plaintiff to wrongfully become responsible for the

  $48,533.61 purchase price of the Vehicle and any related financing or collection costs or

  fees.

          53.    The material misrepresentations were made with the intent that they be

  relied on.

          54.    Defendants’ material misrepresentations were relied upon because

  Defendants were able to complete the sale and financing of the Vehicle as a direct result

  of the material misrepresentations.

          55.    Defendants’ conduct with regard to the sale and financing of the Vehicle,

  and the forgery of Plaintiff’s signature necessary to accomplish that sale, was willful,

  wanton, reckless, and/or malicious.




                                               9
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 10 of 14 PageID: 10




           56.      Plaintiff has suffered damages as a direct result of Defendants’ material

   misrepresentations, including but not limited to the Vehicle’s purchase price of

   $48,533.61 for which Plaintiff has wrongfully became liable as a result of Defendant’s

   actions of related to obtaining her forged signature on the sales documents and any

   related financing or collection costs or fees.

                               THIRD CAUSE OF ACTION
                             DAMAGES PURSUANT TO THE
                          NEW JERSEY PUNITIVE DAMAGES ACT
                                (N.J.S.A. 2A:15-5.9 et. seq.)

           57.      Plaintiff realleges and incorporates each of the above allegations as if fully

   set forth herein.

           58.      There is clear and convincing evidence that the harm Plaintiff suffered

   was the result of Defendants’ acts or omissions, and such acts or omissions were actuated

   by malice or accompanied by a wanton and willful disregard of persons who foreseeably

   might be harmed by those acts or omissions including Plaintiff.

           59.      Defendants’ acts or omissions that were actuated by actual malice or

   accompanied by a wanton disregard of persons who foreseeably might be harmed include

   the following:

                    (a)    Defendants knowingly and intentionally with actual malice and
                           forethought persuaded Plaintiff’s cousin, who does not speak
                           English, into believing that it was permissible, in Plaintiff’s
                           absence and without her knowledge or consent, to complete the
                           purchase of the Vehicle by forging Plaintiff’s name on multiple
                           documents required to finalize the purchase

                    (b)    Defendants knowingly and intentionally with actual malice and
                           forethought caused Plaintiff’s signature to be forged on multiple
                           documents relating to the purchase and financing of the Vehicle,
                           purporting to make her a Co-Buyer of the Vehicle, without
                           Plaintiff’s knowledge or authorization




                                                    10
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 11 of 14 PageID: 11




           60.     Defendants profited from Plaintiff because it was able to sell and finance

   the sale of the Vehicle and assign the financing agreement, solely because her signature

   was forged on documents necessary to complete the sale and financing.

           61.     The harm suffered by Plaintiff was the direct result of Defendants’

   affirmative acts and omissions, and such acts or omissions were actuated by malice or

   accompanied by a wanton and willful disregard of persons, including Plaintiff, who

   foreseeably might be harmed by those acts or omissions.

           62.     The duration of Defendants’ malicious and wanton disregard has been

   ongoing for several months and continues to go on both before and after the date of the

   filing of this Complaint.

                                  FOURTH CAUSE OF ACTION
                                     DECLARATORY RELIEF
                                (28 U.S.C. § 2201 et seq. and Rule 57
                               of the Federal Rules of Civil Procedure)

           63.     Plaintiff realleges and incorporates each of the above allegations as if fully

   set forth herein.

           64.     Plaintiff has never received a copy of a Retail Instalment Contract or any

   disclosures such a document contains, but Cap One has informed her that it considers her

   liable under a Retail Installment Contract applicable to the Vehicle.

           65.     Cap One’s enforcement of the Retail Installment Contract, a product of

   fraud, against Plaintiff is wrongful and in violation of Plaintiff’s rights.

           66.     Upon information and belief, there is an actual controversy existing

   between Plaintiff and Cap One as to the obligation of Plaintiff to Cap One under the

   Retail Installment Contract which is the subject of the within action.




                                                 11
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 12 of 14 PageID: 12




            67.   Plaintiff requires and requests a declaration of her rights and a declaration

   of her obligations under the Retail Installment Contract.

            68.   Plaintiff is entitled to a declaration that there she has no obligation under

   the Retail Installment Contract.

            WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against

   the Defendants, based on the following requested relief:

                  (a)     For declaratory judgment that Defendants violated the Consumer

   Fraud Act;

                  (b)     For declaratory judgment that Defendants committed common law

   fraud;

                  (c)     For injunctive relief prohibiting Defendants from engaging in the

   activities complained of herein, including causing the forgery of documents;

                  (d)     For injunctive relief requiring the Defendants to cause Plaintiff’s

   name and any obligation to be responsible for any third party contract or assigned

   contract to be removed from all third party contracts that were signed or assigned related

   to the sale and financing of the Vehicle including but not limited to the Auto Source

   Extended Service Contract, the GAP Contract, the Retail Installment Sales Contract that

   was assigned to Cap One;

                  (e)     For treble damages pursuant to the CFA at N.J.S.A. 56:8-19;

                  (f)     For reasonable attorneys’ fees and costs of suit in connection with

   this action pursuant to the CFA at N.J.S.A. 56:8-19 and all other applicable statutes;

                  (g)     For actual damages;

                  (h)     For nominal damages;




                                                12
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 13 of 14 PageID: 13




                 (i)       For punitive damages pursuant to the New Jersey Punitive

   Damages Act at N.J.S.A. 2A:15-5.9 et seq.;

                 (j)       For pre-judgment and post-judgment interest;

                 (k)       A Declaration of Plaintiff’s obligations under the Retail

   Installment Contract.

                 (l)       Such other and further relief as may be necessary, just and proper.

   Dated: Nyack, New York
          August 25, 2020
                                                         THE LAW OFFICES OF
                                                         ROBERT J. NAHOUM, P.C.
                                                         Attorneys for Plaintiff

                                                         /S/ Robert J. Nahoum)
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                                                13
Case 2:20-cv-11280-SRC-CLW Document 1 Filed 08/25/20 Page 14 of 14 PageID: 14




                                  DEMAND FOR JURY TRIAL

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

   requests a trial by jury on all issues so triable.

                                                         /S/ Robert J. Nahoum
                                                         ROBERT J. NAHOUM

                  CERTIFICATION PURSUANT TO LOCAL RULE 11.2

           I, Robert J. Nahoum, the undersigned attorney of record for Plaintiff, do hereby

   certify to my own knowledge and based upon information available to me at my office,

   the matter in controversy is not the subject of any other action now pending in any court

   or in any arbitration or administrative proceeding.

                                                         /S/ Robert J. Nahoum
                                                         ROBERT J. NAHOUM

                     NOTICE TO ATTORNEY GENERAL OF ACTION


           A copy of the Complaint will be mailed to the Attorney General of the State of

   New Jersey within ten days after the filing with the Court, pursuant to N.J.S.A. 56:8-20.




                                                  14
